




NO. 07-08-0323-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



AUGUST 19, 2008



______________________________





WAYNE MARC JACKSON,

Appellant



v.



THE STATE OF TEXAS,

Appellee



_________________________________



FROM THE 242
nd
 DISTRICT COURT OF HALE COUNTY;



NO. B16050-0505; HON. EDWARD L. SELF, PRESIDING

__________________________________



ON MOTION TO DISMISS

__________________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.



Appellant Wayne Marc Jackson, by and through his attorney, has filed a motion to dismiss his appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) 
and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


